Case 18-33967-bjh11 Doc 18 Filed 12/05/18                    Entered 12/05/18 11:49:05              Page 1 of 30



Trey A. Monsour                                              Jeremy R. Johnson (Pro Hac Vice Pending)
State Bar No. 14277200                                       Polsinelli PC
Polsinelli PC                                                600 3rd Avenue, 42nd Floor
2950 N. Harwood, Suite 2100                                  New York, New York 10016
Dallas, Texas 75201                                          Telephone: (212) 684-0199
Telephone: (214) 397-0030                                    Facsimile: (212) 684-0197
Facsimile: (214) 397-0033                                    jeremy.johnson@polsinelli.com
tmonsour@polsinelli.com


PROPOSED COUNSEL TO THE DEBTORS
AND DEBTORS IN POSSESSION

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                       §
In re:                                                 §        Chapter 11
                                                       §
Senior Care Centers, LLC, et al.,1                     §        Case No. 18-33967 (BJH)
                                                       §
                          Debtors.                     §        (Joint Administration Requested)
                                                       §

MOTION OF DEBTORS FOR ORDER (I) AUTHORIZING CONTINUATION OF, AND
  PAYMENT OF PREPETITION OBLIGATIONS INCURRED IN THE ORDINARY
    COURSE OF BUSINESS IN CONNECTION WITH, VARIOUS INSURANCE
POLICIES, (II) AUTHORIZING BANKS TO HONOR AND PROCESS CHECKS AND
 ELECTRONIC TRANSFER REQUESTS RELATED THERETO, (III) PREVENTING
 INSURANCE COMPANIES FROM GIVING ANY NOTICE OF TERMINATION OR
  OTHERWISE MODIFYING ANY INSURANCE POLICY WITHOUT OBTAINING
RELIEF FROM THE AUTOMATIC STAY, (IV) AUTHORIZING THE DEBTORS TO
    CONTINUE TO HONOR PREMIUM FINANCING OBLIGATIONS, AND (V)
   AUTHORIZING THE DEBTORS TO CONTINUE SURETY BOND PROGRAM

         The above-captioned debtors and debtors in possession (the “Debtors”) hereby move (the

“Motion”) for entry of an order, substantially in the form attached hereto as Exhibit B (the

“Proposed Order”), pursuant to sections 105(a), 362, 363(b), and 363(c)(1) of title 11 of the

United States Code (the “Bankruptcy Code”), and Rule 6003(b) of the Federal Rules of

1
   A list of the Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, is attached hereto as Exhibit A. The Debtors’ mailing address is 600 North Pearl Street, Suite
1100, Dallas, Texas 75201.


65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18            Entered 12/05/18 11:49:05       Page 2 of 30



Bankruptcy Procedure (the “Bankruptcy Rules”), (i) authorizing, but not directing, the Debtors

to continue and, to the extent necessary, renew prepetition insurance policies in the ordinary

course of business and pay prepetition obligations in respect thereof, (ii) authorizing banks and

other financial institutions at which the Debtors hold accounts (collectively, the “Banks”) to

honor and process check and electronic transfer requests related to the foregoing, (iii) preventing

insurance companies from giving any notice of termination or otherwise modifying or cancelling

any insurance policies without first obtaining relief form the automatic stay imposed by

Bankruptcy Code section 362, (iv) authorizing, but not directing, the Debtors to continue to

honor premium financing and brokerage obligations, and (v) authorizing, but not directing, the

Debtors to continue their surety bond program. In support of this Motion, the Debtors rely upon

and incorporate by reference the Declaration of Kevin O'Halloran, Chief Restructuring Officer

of Senior Care Centers, LLC, in Support of Chapter 11 Petitions and First Day Pleadings, filed

concurrently herewith (the “First Day Declaration”). In further support of this Motion, the

Debtors, by and through their undersigned counsel, respectfully represent as follows:

                                JURISDICTION AND VENUE

         1.    This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

1334. This is a core proceeding under 28 U.S.C. § 157(b). The Debtors consent to entry of a final

order under Article III of the United States Constitution.

         2.    Venue is proper in this district under 28 U.S.C. §§ 1408 and 1409.

         3.    The statutory predicates for the relief requested herein are Bankruptcy Code

sections 105(a), 363(b), and 363(c)(1), and Bankruptcy Rule 6003(b).




                                                 2
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18                     Entered 12/05/18 11:49:05               Page 3 of 30



                                                BACKGROUND

A.       General Background

         4.       On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition in this Court commencing a case for relief under chapter 11 of the Bankruptcy Code (the

“Chapter 11 Cases”).

         5.       The factual background regarding the Debtors, including their business

operations, their capital and debt structures, and the events leading to the filing of the Chapter 11

Cases, is set forth in detail in the First Day Declaration and fully incorporated herein by

reference.

         6.       The Debtors continue to manage and operate their business as debtors in

possession pursuant to Bankruptcy Code sections 1107 and 1108.

         7.       No trustee or examiner, or official committee of unsecured creditors has been

appointed in the Chapter 11 Cases.

B.       The Debtors’ Insurance Policies and Related Payment Obligations

         8.       In the ordinary course of their business, the Debtors maintain approximately 64

insurance policies with various insurance providers (collectively, the “Insurers”) that provide

coverage for, among other things, the Debtors’ general liability, director and officer liability,

fiduciary liability, employment practices liability, workers compensation liability, automobile

liability, professional liability, cyber liability, and property liability (each, an “Insurance

Policy” and collectively, the “Insurance Policies”), as summarized in Exhibit C annexed

hereto.2 In addition to the Insurance Policies, the Debtors maintain several workers’


2
  The descriptions of the Insurance Policies set forth in this Motion constitute a summary only. The actual terms of
the Insurance Policies and related agreements will govern in the event of any inconsistency with the descriptions in
this Motion. It is possible that certain of the Debtors’ Insurance Policies may have been inadvertently omitted from
the list of Insurance Policies attached hereto as Exhibit C. Accordingly, Exhibit C represents a non-exhaustive list of
Insurance Policies and the Debtors reserve the right, pursuant to the terms and conditions of this Motion and without

                                                          3
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18                    Entered 12/05/18 11:49:05             Page 4 of 30



compensation policies that are reflected in Exhibit C, for which relief is not sought in this

Motion.3

         9.      The Debtors incur a total of approximately $7 million in premiums on an annual

basis under the terms of their existing Insurance Policies as well as other obligations, including

the Broker Fees (as defined below) and other related fees and costs (collectively, the “Insurance

Obligations”). In addition, the Debtors may make retroactive adjustments in the ordinary course

of business with respect to one or more of the Insurance Policies, as applicable.

         10.     The Debtors seek authority to pay premiums under the Insurance Policies based

on a fixed amount established and billed by each Insurance Provider. Depending on the

particular Insurance Policy, premiums are primarily (a) prepaid in full at a policy’s inception or

renewal; (b) financed through a premium financing company; or (c) paid in installments to a

broker over the term of the policy.

                 (i)      Debtors’ Prepaid Policies

         11.     Generally, these Insurance Policies require annual premium payments to be made

at the beginning of the applicable policy period. In the ordinary course of business, the Debtors

renew annual coverages under many of their policies, including those related to general

professional liability, flood coverage, and key man life coverage, and the Debtors pay the full


further order from the Court, to amend Exhibit C to add any Insurance Policies that were omitted therefrom. The
Debtors request that the relief requested herein apply equally to all such Insurance Policies (the “Additional
Insurance Policies”). If the Debtors add any Additional Insurance Policies to Exhibit C, the Debtors will serve this
Motion, any order approving same, and a revised version of Exhibit C upon the issuer(s) of any such Additional
Insurance Policies, the Office of the U.S. Trustee, the Debtors’ DIP Lender, and any official committee(s) appointed
in the Debtors’ Chapter 11 Cases.
3
  The Debtors’ workers’ compensation policies are described and corresponding relief is requested with respect to
such policies in the Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Payment of Certain
Prepetition Workforce Claims, Including Wages, Salaries, and Other Compensation, (II) Authorizing Payment of
Certain Employee Benefits and Confirming Right to Continue Employee Benefits on Postpetition Basis, (III)
Authorizing Payment of Reimbursement to Employees for Expenses Incurred Prepetition, (IV) Authorizing Payment
of Withholding and Payroll-Related Taxes, (V) Authorizing Payment of Workers’ Compensation Obligations, and
(VI) Authorizing Payment of Prepetition Claims Owing to Administrators and Third-Party Providers, filed
concurrently herewith.

                                                         4
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18            Entered 12/05/18 11:49:05        Page 5 of 30



amount of the premiums owed for such policies due at renewal. Accordingly, as of the Petition

Date, the Debtors do not owe unpaid premium amounts on account of policies that require

payment in full at the inception of the applicable policy period.

               (ii)    Premium Financing Agreement

         12.   Generally, the Insurance Policies require annual premium payments to be made at

the beginning of the applicable policy period. However, it is not always economically

advantageous for the Debtors to pay the premiums on all of the Insurance Policies on a lump-

sum basis. Accordingly, in the ordinary course of business, the Debtors finance the premiums on

certain policies pursuant to two premium financing agreements (each, a “PFA” and collectively,

the “PFAs”) with Imperial PFS Corporation (“Imperial”). The Debtors entered into the PFAs

with Imperial in order to finance insurance premiums for certain policies as detailed in Exhibit C,

including property liability, general and professional liability, executive risk liability, directors

and officers, employment practices liability, commercial auto, and fiduciary liability. The

Debtors have fully paid all installments on one of the PFAs, which expired on November 19,

2018. The other PFA expires on May 1, 2019 and has four remaining installments in the amount

of $409,348.19, the last of which is due on March 15, 2019. The Debtors have paid any down

payments prior to the Petition Date, and have continued to pay the monthly installments as they

become due.

         13.   If the Debtors are unable to continue making payments on the remaining PFA,

Imperial may be permitted to terminate the PFA. The Debtors would then be required to obtain

replacement insurance on an expedited basis and at significant cost to the estates. If the Debtors

are required to obtain replacement insurance and to pay a lump-sum premium for such Insurance

Policy in advance, this payment would likely be greater than what the Debtors currently pay.



                                                 5
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18            Entered 12/05/18 11:49:05       Page 6 of 30



Even if Imperial were not permitted to terminate the PFA, any interruption of payment would

have a severe, adverse effect on the Debtors' ability to finance premiums for future policies.

         14.   In light of the importance of maintaining insurance coverage with respect to their

business activities and preserving liquidity by financing their insurance premiums, the Debtors

believe it is in the best interest of their estates to receive Court approval to honor their

obligations under the PFA and, as necessary, renew or enter into new such agreements.

               (iii)   The Debtors’ Insurance Broker Services

         15.   The Debtors use Alliance Insurance Group (the “Broker”) to assist them with the

procurement and negotiation of certain Insurance Policies. The Broker assists the Debtors in

obtaining comprehensive insurance coverage for their operations, analyzing the market for

available coverage and negotiating policy terms, provisions, and premiums. The Broker also

provides ongoing support through the policy periods. The Debtors pay the Broker any fees and

commissions that are owed under the PFAs (the “Broker Fees”). As of the Petition Date, the

Debtors do not believe that they owe any amounts to the Broker on account of fees,

commissions, or any other prepetition obligations beyond the commission amounts already

contained in the next PFA installment that will come due in the ordinary course of the Debtors’

business. Out of an abundance of caution, however, the Debtors seek authority to honor any

amounts owed to the Broker to ensure uninterrupted coverage under their Insurance Policies.

               (iv)    The Debtors’ Surety Bond Program

         16.   In the ordinary course of business, the Debtors are required to provide surety

bonds to certain third parties to secure the Debtors' payment or performance of certain

obligations, often to governmental units or other public agencies (the "Surety Bond Program").

Often, statutes or ordinances require the Debtors to post surety bonds to secure such obligations.



                                                 6
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18           Entered 12/05/18 11:49:05       Page 7 of 30



As such, the failure to provide, maintain, or timely replace their surety bonds may prevent the

Debtors from undertaking essential functions related to their operations.

         17.   The premiums for the surety bonds are generally determined on an annual basis

and paid by the Debtors when the bonds are issued and annually upon each renewal. The Debtors

have approximately ninety-seven (97) outstanding surety bonds issued by CNA Surety Group

Western Surety Company (collectively, the "Sureties"). Annual premiums for the Debtors'

surety bonds total approximately $100,000.00, which were paid in full prior to the effective date

of the bonds. As such, the Debtors estimate that no prepetition amounts remain outstanding on

account of the Surety Bond Program.

         18.   To continue their business operations during the reorganization or sale process,

the Debtors must be able to provide financial assurances to state governments, regulatory

agencies, and other third parties. Indeed, without the relief requested, the Debtors’ ability to

conduct operations in many locations could come to a halt, thereby destroying value for all

stakeholders. To maintain the existing Surety Bond Program, the Debtors request the authority,

but not direction, to pay all obligations under the Surety Bond Program as they come due,

including the bond premiums, and any bond commissions as needed. In addition, the Debtors

seek authority to renew or potentially acquire additional bonding capacity as needed in the

ordinary course of their business, and execute other agreements in connection with the Surety

Bond Program.

                                    RELIEF REQUESTED

         19.   By this Motion, the Debtors request entry of an order, substantially in the form of

Exhibit B attached hereto, authorizing the Debtors to (a) continue and renew their Insurance

Policies, or obtain new insurance policies, as needed in the ordinary course of business, and (b)

honor all of their prepetition and postpetition obligations, including payment of all outstanding

                                                7
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18                 Entered 12/05/18 11:49:05            Page 8 of 30



prepetition Insurance Obligations, under and in connection with the Insurance Policies on an

uninterrupted basis and in accordance with the same practices and procedures as were in effect

before the Petition Date, including premiums arising under the Insurance Policies and the Broker

Fees.4

         20.     The Debtors also seek entry of an order authorizing the Banks to receive, process,

honor, and pay checks or electronic transfers used by the Debtors to pay the foregoing and to rely

on the representations of the Debtors as to which checks are issued and authorized to be paid in

accordance with this Motion.

         21.     Lastly, by this Motion, the Debtors respectfully request an order preventing the

Insurers from giving any notice of termination or otherwise modifying or cancelling any

Insurance Policies without obtaining relief form the automatic stay.

                                          BASIS FOR RELIEF

A.       Honoring the Insurance Policy Obligations is Warranted Under Bankruptcy Code
         Section 363(b)

         22.     Bankruptcy Code section 363 provides, in relevant part, that “[t]he trustee, after

notice and a hearing, may use, sell, or lease, other than in the ordinary course of business,

property of the estate.” 11 U.S.C. § 363(b)(1). Under section 363(b), courts require only that the

debtor “show that a sound business purpose justifies such actions.” Dai-Ichi Kangyo Bank, Ltd.

v. Montgomery Ward Holding Corp. (In re Montgomery Ward Holding Corp.), 242 B.R. 147,

153 (D. Del. 1999) (citations omitted); see also In re Phoenix Steel Corp., 82 B.R. 334, 335–36

(Bankr. D. Del. 1987); In re Adelphia Commc’ns Corp., No. 02-41729 (REG), 2003 WL

22316543, at *30 (Bankr. S.D.N.Y. Mar. 4, 2003); Comm. of Equity Sec. Holders v. Lionel Corp.

4
   Nothing in this Motion should be construed as an assumption of any executory contract or unexpired lease
between the Debtors and any other party, nor should it be construed as a rejection of any executory contract or
unexpired lease with any creditor. The Debtors reserve the right to contest the amount claimed to be due by any
person or entity.

                                                      8
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18           Entered 12/05/18 11:49:05       Page 9 of 30



(In re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983). Moreover, “[w]here the debtor

articulates a reasonable basis for its business decisions (as distinct from a decision made

arbitrarily or capriciously), courts will generally not entertain objections to the debtor’s

conduct.” Comm. of Asbestos-Related Litigants v. Johns-Manville Corp. (In re Johns- Manville

Corp.), 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986) (citation omitted); see also Stanziale v.

Nachtomi (In re Tower Air, Inc.), 416 F.3d 229, 238 (3d Cir. 2005) (“Overcoming the

presumptions of the business judgment rule on the merits is a near-Herculean task.”).

         23.   The Debtors have satisfied the business judgment standard. First, the coverage

provided under the Insurance Policies is essential for preserving the value of the Debtors’ assets

and, such coverage is required by various regulations, laws, and contracts that govern the

Debtors’ business operations. Indeed, Bankruptcy Code section 1112(b)(4)(C) provides that

“failure to maintain appropriate insurance that poses a risk to the estate or to the public,” is

“cause” for mandatory conversion or dismissal of a chapter 11 case. 11 U.S.C. § 1112(b)(4)(C).

Moreover, maintenance of insurance policies is required by the operating guidelines established

by the Office of the United States Trustee (the “U.S. Trustee”). See 3 United States Trustee

Manual, § 3-3.2.3 (Oct. 1998) (“A debtor must obtain appropriate insurance coverage, and

documentation regarding the existence of the coverage must be provided to the Office of the

United States Trustee as early in the case as possible.”). Second, if the Debtors fail to perform

their obligations under the Insurance Policies, their coverage thereunder could be voided. Such a

disruption of the Debtors’ insurance coverage could expose the Debtors to serious risks,

including but not limited to: (a) direct liability for the payment of claims that otherwise would

have been payable by the Insurers; (b) material costs and other losses that otherwise would have

been reimbursed by the Insurers under the Insurance Policies; (c) the loss of good standing



                                                9
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18             Entered 12/05/18 11:49:05        Page 10 of 30



certification in jurisdictions that require the Debtors to maintain certain levels of insurance

coverage; (iv) the inability to obtain similar types of insurance coverage; and (d) higher costs for

re-establishing lapsed policies or obtaining new insurance coverage. Any or all of these

consequences could cause serious harm to the Debtors’ business. Granting the relief requested

herein will enhance the likelihood of the Debtors’ successful rehabilitation, thereby furthering

the goals of chapter 11: “facilitating the continued operation and rehabilitation of the debtor.” In

re Ionosphere Clubs, 98 B.R. 174, 176 (Bankr. S.D.N.Y. 1989).

         24.   The Debtors may also need to renew or replace certain of the Insurance Policies

during the course of these Chapter 11 Cases or enter into new policies. If the Debtors do not pay

prepetition amounts owing, including upward and/or downward adjustments, in respect of the

Insurance Policies, there is a risk that the Insurers will refuse to renew the Insurance Policies.

         25.   Although the Debtors believe that the renewal, modification, or new execution of

the Insurance Policies would constitute ordinary course transactions not requiring Court

approval, the Debtors nevertheless seek authority to continue to renew and modify the Insurance

Policies in order to assure the Debtors’ Insurers that the Debtors have full authority with respect

to new or modified arrangements without the need to obtain further approval from the Court.

B.       Honoring the Insurance Policy Obligations is Warranted Under Bankruptcy Code
         Section 363(c)(1)

         26.   Bankruptcy Code section 363(c)(1) expressly grants the Debtors the authority to

“enter into transactions . . . in the ordinary course of business” and “use property of the estate in

the ordinary course of business without notice or a hearing.” 11 U.S.C. § 363(c)(1). Therefore,

the Debtors believe they are permitted to pay all postpetition amounts due pursuant to the

Insurance Policies and to renew or obtain new insurance policies as such actions are in the

ordinary course of the Debtors’ businesses. However, out of an abundance of caution, the


                                                 10
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18            Entered 12/05/18 11:49:05       Page 11 of 30



Debtors seek entry of an order granting the relief requested herein to avoid any disruptions to

their business operations.

C.       Honoring the Insurance Policy Obligations is Warranted Under the Doctrine of
         Necessity

         27.   The Court may authorize payment of prepetition claims under Bankruptcy Code

section 105(a). Section 105(a), which codifies the equitable powers of the bankruptcy court,

empowers courts to “issue any order, process, or judgment that is necessary or appropriate to

carry out the provisions of this title.” 11 U.S.C. § 105(a). Under Bankruptcy Code section

105(a), courts may permit pre-plan payments of prepetition obligations when essential to the

continued operation of the debtor’s business, even though such payment is not explicitly

authorized under the Bankruptcy Code. See, e.g., In re Just for Feet, Inc., 242 B.R. 821, 825-25

(D. Del. 1999). Specifically, the Court may use its power under Bankruptcy Code section 105(a)

to authorize payment of prepetition obligations pursuant to the “doctrine of necessity” (also

referred to as the “necessity of payment” rule). In re Ionosphere Clubs, Inc., 98 B.R. at 175-76;

In re CoServ, L.L.C., 273 B.R. 487 (Bankr. N.D. Tex. 2002) (holding the doctrine of necessity

applicable when payment fulfills the debtor in possession’s fiduciary role to protect and preserve

the estate, including an operating business’s going-concern value).

         28.   The United States Bankruptcy Court for the Northern District of Texas has held

that a debtor must demonstrate the following three elements to establish “necessity”: (1) it must

be critical that the debtor deal with the claimant; (2) unless the debtor deals with the claimant,

the debtor risks the probability of harm, or, alternatively, loss of economic advantage to the

estate or the debtor’s going concern value, which is disproportionate to the amount of the

claimant’s prepetition claim; (3) there is no practical or legal alternative by which the debtor can

deal with the claimant other than by payment of the claim. In re CoServ, 237 B.R. at 487.


                                                11
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18            Entered 12/05/18 11:49:05       Page 12 of 30



         29.   Honoring the Debtors’ obligations with regards to the Insurance Policies is

warranted under the doctrine of necessity. As described above, continuation of the Insurance

Policies is essential to preserve the value of the Debtors’ assets and minimize exposure to risk.

Furthermore, insurance coverage is required by the Office of the United States Trustee, as well

as various jurisdictions in which the Debtors operate.

         30.   Moreover, many bankruptcy courts in this district have granted relief similar to

that requested herein in other chapter 11 cases. See, e.g., In re TPP Acquisitions, Inc. d/b/a The

Picture People, Case No. 16-33437 (HDH) (Bankr. N.D. Tex. Sept. 8, 2016) [Doc. No. 81]; In re

CHC Group Ltd, et al, Case No. 16-31854 (BJH) (Bankr. N.D. Tex. June 8, 2016) [Doc. No.

268]; In re TransCoastal Corporation, Case No. 15-34956 (HDH) (Bankr. N.D. Tex. Dec. 11,

2015) [Doc. No. 37]; In re Energy & Exploration Partners, Inc., Case No. 15-44931 (RFN)

(Bankr. N.D. Tex. Dec. 23, 2015) [Doc. No. 148]; In re Renaissance Hosp. Grand Prairie, Inc.,

Case No. 08-43775 (RFN) (Bankr. N.D. Tex. Sept. 4, 2008) [Doc. No. 113]; In re Bombay Co.,

Case No. 07-44084 (RFN) (Bankr. N.D. Tex. Sept. 20, 2007) [Doc. No. 66].

C.       The Court Should Authorize Applicable Banks to Honor Checks and Electronic
         Fund Transfers in Accordance with the Motion

         31.   In connection with the foregoing, the Debtors respectfully request that the Court

(a) authorize all applicable Banks to receive, process, honor, and pay all checks and transfers

issued by the Debtors in accordance with this Motion, without regard to whether any checks or

transfers were issued before or after the Petition Date, (b) provide that all Banks may rely on the

representations of the Debtors with respect to whether any check or transfer issued or made by

the Debtors before the Petition Date should be honored pursuant to this Motion (such banks and

other financial institutions having no liability to any party for relying on such representations by

the Debtors provided for herein), and (c) authorize the Debtors to issue replacement checks or


                                                12
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18             Entered 12/05/18 11:49:05       Page 13 of 30



transfers to the extent any checks or transfers that are issued and authorized to be paid in

accordance with this Motion are dishonored or rejected by the Banks.

D.       The Automatic Stay

         32.   The Debtors also request that the Court prevent the Insurers from giving any

notice of termination or otherwise modifying or canceling any Insurance Policies without

obtaining relief from the automatic stay imposed by Bankruptcy Code section 362. The purpose

of this relief is to aid in the administration of the Debtors’ bankruptcy cases and to preserve the

value of their business operations. The Debtors’ Insurers may be unfamiliar with the protections

afforded chapter 11 debtors under Bankruptcy Code section 362, and thus, an order of this Court

affirming these protections would help avoid costly and unnecessary litigation.

         33.   As a result of the commencement of the Debtors’ Chapter 11 Cases, and by

operation of law pursuant to Bankruptcy Code section 362, the automatic stay prevents all

persons from, inter alia, (a) commencing or continuing any judicial, administrative, or other

proceeding against the Debtors, (b) taking any action to exercise control over property of the

estates, or (c) taking any action to collect, assess or recover a claim against the Debtors that arose

before the commencement of such cases. See 11 U.S.C. § 362(a).

         34.   The appropriate procedure for obtaining Court approval of termination under an

insurance policy is to seek relief from the automatic stay under the provisions of Bankruptcy

Code section 362(d)(1), which require the Court to grant relief for “cause.” In re Adana Mortg.

Bankers, Inc., 12 B.R. 983, 988 (Bankr. N.D. Ga. 1980).

         35.   The injunctions contained in Bankruptcy Code section 362 are self-executing and

constitute fundamental debtor protections, which, in combination with other provisions of the

Bankruptcy Code, provides the Debtors with a “breathing spell” that is essential to the Debtors’



                                                 13
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18             Entered 12/05/18 11:49:05      Page 14 of 30



ability to reorganize. See, e.g., Mar. Elec. Co., Inc. v. United Jersey Bank, 959 F.2d 1194, 1204

(3d Cir. 1991).

E.       Immediate Relief is Justified

         36.      Pursuant to Bankruptcy Rule 6003, the Court may grant relief within 21 days after

the filing of the petition regarding a motion to “use, sell, lease, or otherwise incur an obligation

regarding property of the estate” only if such relief is necessary to avoid immediate and

irreparable harm. Fed. R. Bankr. P. 6003(b). Immediate and irreparable harm exists where the

absence of relief would impair a debtor’s ability to reorganize or threaten the debtor’s future as a

going concern. See In re Ames Dep’t Stores, Inc., 115 B.R. 34, 36 n.2 (Bankr. S.D.N.Y. 1990)

(discussing the elements of “immediate and irreparable harm” in relation to Bankruptcy Rule

4001).

         37.      Moreover, Bankruptcy Rule 6003 authorizes the Court to grant the relief

requested herein to avoid harm to the Debtors’ customers and other third parties. Unlike

Bankruptcy Rule 4001, Bankruptcy Rule 6003 does not condition relief on imminent or

threatened harm to the estate alone. Rather, Bankruptcy Rule 6003 speaks of “immediate and

irreparable harm” generally. Cf. Fed. R. Bankr. P. 4001(b)(2), (c)(2) (referring to “irreparable

harm to the estate”). Indeed, the “irreparable harm” standard is analogous to the traditional

standards governing the issuance of preliminary junctions. See 9 Alan N. Resnick & Henry J.

Sommer, Collier on Bankruptcy ¶ 4001.07[b][3] (16th ed.) (discussing source of “irreparable

harm” standard under Rule 4001(c)(2)). Courts will routinely consider third-party interests when

granting such relief. See, e.g., Capital Ventures Int’l v. Argentina, 443 F.3d 214, 223 n.7 (2d Cir.

2006); see also Linnemeir v. Bd. of Trs. of Purdue Univ., 260 F.3d 757, 761 (7th Cir. 2001).




                                                 14
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18             Entered 12/05/18 11:49:05     Page 15 of 30



         38.   As described herein, the Debtors will suffer immediate and irreparable harm

without Court authorization for the relief requested herein. Accordingly, Bankruptcy Rule 6003

has been satisfied and the relief requested herein should be granted.

                             WAIVER OF BANKRUPTCY RULES

         39.   To the extent that any aspect of the relief sought herein is subject to Bankruptcy

Rule 6003, the Debtors submit that the Court may grant such relief within twenty-one (21) days

after the Petition Date because it is necessary to avoid immediate and irreparable harm. See Fed.

R. Bankr. P. 6003.

         40.   In addition, to the extent that any aspect of the relief sought herein constitutes a

use of property under Bankruptcy Code section 363(b), the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the fourteen (14)-day stay under Bankruptcy

Rule 6004(h), to the extent applicable. See Fed. R. Bankr. P. 6004(a), (h). As described above,

the relief that the Debtors seek in this Motion is immediately necessary in order for the Debtors

to be able to continue to operate their business and preserve the value of their estates. The

Debtors respectfully request that the Court waive the notice requirements imposed by

Bankruptcy Rule 6004(a) and the fourteen (14)-day stay imposed by Bankruptcy Rule 6004(h),

as the exigent nature of the relief sought herein justifies immediate relief.

                                 RESERVATION OF RIGHTS

         41.   Nothing contained herein is intended or should be construed as an admission of

the validity of any claim against the Debtors, a waiver of the Debtors’ rights to dispute any

claim, or an approval, assumption, or rejection of any agreement, contract, or lease under

Bankruptcy Code section 365. The Debtors expressly reserve their rights to contest any invoice

or claim on account of any Insurance Policy under applicable law and to assume or reject any

agreements with Insurance Policy providers in accordance with the applicable provisions of the

                                                 15
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18            Entered 12/05/18 11:49:05      Page 16 of 30



Bankruptcy Code. Likewise, if this Court grants the relief sought herein, any payment made

pursuant to the Court’s order is not intended and should not be construed as an admission as to

the validity of any claim or a waiver of the Debtors’ rights to dispute such claim subsequently.

                                CONSENT TO JURISDICTION

         42.   The Debtors consent to the entry of a final judgment or order with respect to this

Motion if it is determined that the Court would lack Article III jurisdiction to enter such final

order or judgment absent consent of the parties.

                                            NOTICE

         43.   Notice of this Motion shall be provided to: (a) the Office of the United States

Trustee for the Northern District of Texas; (b) the Office of the Attorney General of the states in

which the Debtors operate; (c) the Debtors’ forty largest unsecured creditors on a consolidated

basis; (d) counsel to CIBC Bank USA; (e) Sabra Texas Holdings, L.P.; (f) the Internal Revenue

Service; (g) the Department of Medicaid, Department of Health, and Division of Health Services

Regulation in each state in which the Debtors operate Facilities; (h) the Insurers; and (j) the

Banks.

         44.   The Debtors respectfully submit that such notice is sufficient and that no further

notice of this Motion is required.

                                     NO PRIOR REQUEST

         45.   No previous request for the relief sought herein has been made to this Court or

any other court.




                                                16
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18           Entered 12/05/18 11:49:05      Page 17 of 30



         WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form of the proposed order attached hereto as Exhibit B, granting the relief

requested in the Motion and such other and further relief as may be just and proper.

Dated: December 5, 2018                           POLSINELLI PC
       Dallas, Texas
                                                  /s/     Trey A. Monsour
                                                  Trey A. Monsour
                                                  State Bar No. 14277200
                                                  2950 N. Harwood, Suite 2100
                                                  Dallas, Texas 75201
                                                  Telephone: (214) 397-0030
                                                  Facsimile: (214) 397-0033
                                                  tmonsour@polsinelli.com

                                                  -and-

                                                  Jeremy R. Johnson (Pro Hac Vice Pending)
                                                  600 3rd Avenue, 42nd Floor
                                                  New York, New York 10016
                                                  Telephone: (212) 684-0199
                                                  Facsimile: (212) 684-0197
                                                  jeremy.johnson@polsinelli.com

                                                  Proposed Counsel to the Debtors and Debtors
                                                  in Possession




                                               17
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18     Entered 12/05/18 11:49:05   Page 18 of 30



                                       Exhibit A

                                 (Sorted Alphabetically)

#      Debtor Name                                           Case No.          EIN
1.     Alief SCC LLC                                         18-33987          0523
2.     Bandera SCC LLC                                       18-33989          0617
3.     Baytown SCC LLC                                       18-33992          0778
4.     Beltline SCC LLC                                      18-33996          7264
5.     Booker SCC LLC                                        18-33999          0967
6.     Bossier SCC LLC                                       18-34003          2017
7.     Bradford SCC LLC                                      18-34004          9535
8.     Brinker SCC LLC                                       18-34005          7304
9.     Brownwood SCC LLC                                     18-33968          0677
10.    Capitol SCC LLC                                       18-34006          1750
11.    CapWest-Texas LLC                                     18-34008          4897
12.    Cedar Bayou SCC LLC                                   18-34010          8889
13.    Clear Brook SCC LLC                                   18-34012          1877
14.    Colonial SCC LLC                                      18-34014          4385
15.    Community SCC LLC                                     18-33969          7951
16.    Corpus Christi SCC LLC                                18-34016          9807
17.    Crestwood SCC LLC                                     18-34017          7349
18.    Crowley SCC LLC                                       18-33970          6697
19.    CTLTC Real Estate, LLC                                18-34018          0202
20.    Fairpark SCC LLC                                      18-34020          7381
21.    Gamble Hospice Care Central LLC                       18-34022          6688
22.    Gamble Hospice Care Northeast LLC                     18-34025          6661
23.    Gamble Hospice Care Northwest LLC                     18-34027          2044
24.    Gamble Hospice Care of Cenla LLC                      18-34029          4510
25.    Green Oaks SCC LLC                                    18-33971          7218
26.    Harbor Lakes SCC LLC                                  18-33972          7299
27.    Harden HUD Holdco LLC                                 18-34032          1502
28.    Harden Non-HUD Holdco LLC                             18-34035          3391
29.    Harden Pharmacy LLC                                   18-34036          1995
30.    Hearthstone SCC LLC                                   18-34037          9154
31.    Hewitt SCC LLC                                        18-33973          7237
32.    HG SCC LLC                                            18-34040          7415
33.    Hill Country SCC LLC                                  18-34043          4199
34.    Holland SCC LLC                                       18-33974          1427
35.    Hunters Pond SCC LLC                                  18-34045          2886
36.    Jacksonville SCC LLC                                  18-34046          4216
37.    La Hacienda SCC LLC                                   18-34049          1074
38.    Lakepointe SCC LLC                                    18-34050          7457
39.    Major Timbers LLC                                     18-34052          7477
40.    Marlandwood East SCC LLC                              18-34054          1871


65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18       Entered 12/05/18 11:49:05   Page 19 of 30



#      Debtor Name                                             Case No.          EIN
41.    Marlandwood West SCC LLC                                18-34058          2192
42.    Meadow Creek SCC LLC                                    18-34064          9278
43.    Midland SCC LLC                                         18-34065          4231
44.    Mill Forest Road SCC LLC                                18-34066          5137
45.    Mission SCC LLC                                         18-33975          8086
46.    Mullican SCC LLC                                        18-34067          7499
47.    Mystic Park SCC LLC                                     18-34068          1898
48.    Normandie SCC LLC                                       18-34069          1542
49.    Onion Creek SCC LLC                                     18-34070          7425
50.    Park Bend SCC LLC                                       18-34071          9410
51.    Pasadena SCC LLC                                        18-34072          1694
52.    Pecan Tree SCC LLC                                      18-34073          4241
53.    Pecan Valley SCC LLC                                    18-34074          9585
54.    Pleasantmanor SCC LLC                                   18-34075          7536
55.    PM Management - Allen NC LLC                            18-34076          4961
56.    PM Management - Babcock NC LLC                          18-34077          7829
57.    PM Management - Cedar Park NC LLC                       18-34078          1050
58.    PM Management - Corpus Christi NC II LLC                18-34079          5231
59.    PM Management - Corpus Christi NC III LLC               18-34080          5129
60.    PM Management - Corsicana NC II LLC                     18-34081          9281
61.    PM Management - Corsicana NC III LLC                    18-34082          9353
62.    PM Management - Corsicana NC LLC                        18-34083          1333
63.    PM Management - Denison NC LLC                          18-34084          5022
64.    PM Management - El Paso I NC LLC                        18-34085          2965
65.    PM Management - Fredericksburg NC LLC                   18-34086          0599
66.    PM Management - Frisco NC LLC                           18-34087          5082
67.    PM Management - Garland NC LLC                          18-33979          5137
68.    PM Management - Golden Triangle NC I LLC                18-33980          9478
69.    PM Management - Golden Triangle NC II LLC               18-33981          9536
70.    PM Management - Golden Triangle NC III LLC              18-33982          9597
71.    PM Management - Golden Triangle NC IV LLC               18-33983          9654
72.    PM Management - Killeen I NC LLC                        18-33984          3105
73.    PM Management - Killeen II NC LLC                       18-33985          3179
74.    PM Management - Killeen III NC LLC                      18-33986          3245
75.    PM Management - Lewisville NC LLC                       18-33988          5296
76.    PM Management - New Braunfels NC LLC                    18-33990          6293
77.    PM Management - Park Valley NC LLC                      18-33991          7186
78.    PM Management - Pflugerville AL LLC                     18-33993          4007
79.    PM Management - Portland AL LLC                         18-33994          5018
80.    PM Management - Portland NC LLC                         18-33995          4928
81.    PM Management - Round Rock AL LLC                       18-33997          5304
82.    PM Management - San Antonio NC LLC                      18-33998          1216
83.    Presidential SCC LLC                                    18-34000          1913
84.    Redoak SCC LLC                                          18-33976          7569

                                            2
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18        Entered 12/05/18 11:49:05   Page 20 of 30



#      Debtor Name                                              Case No.          EIN
85.    Riverside SCC LLC                                        18-34001          1889
86.    Round Rock SCC LLC                                       18-34002          8936
87.    Rowlett SCC LLC                                          18-34007          7606
88.    Ruston SCC LLC                                           18-34009          0242
89.    RW SCC LLC                                               18-34011          7631
90.    Sagebrook SCC LLC                                        18-34013          9571
91.    San Angelo SCC LLC                                       18-34015          4254
92.    SCC Edinburg LLC                                         18-34019          1195
93.    SCC Hospice Holdco LLC                                   18-34021          3166
94.    SCC Senior Care Investments LLC                          18-34023          4123
95.    SCC Socorro LLC                                          18-34024          5459
96.    Senior Care Center Management II LLC                     18-34026          1280
97.    Senior Care Center Management LLC                        18-34028          7811
98.    Senior Care Centers Home Health, LLC                     18-34030          1931
99.    Senior Care Centers LLC                                  18-33967          8550
100.   Senior Rehab Solutions LLC                               18-34031          4829
101.   Senior Rehab Solutions North Louisiana LLC               18-34033          1690
102.   Shreveport SCC LLC                                       18-34034          1659
103.   Solutions 2 Wellness LLC                                 18-34038          4065
104.   South Oaks SCC LLC                                       18-34039          8002
105.   Springlake ALF SCC LLC                                   18-34041          2436
106.   Springlake SCC LLC                                       18-34042          9102
107.   Stallings Court SCC LLC                                  18-33977          7393
108.   Stonebridge SCC LLC                                      18-34044          9234
109.   Stonegate SCC LLC                                        18-33978          3005
110.   Summer Regency SCC LLC                                   18-34047          7782
111.   TRISUN Healthcare LLC                                    18-34048          2497
112.   Valley Grande SCC LLC                                    18-34051          1341
113.   Vintage SCC LLC                                          18-34053          7710
114.   West Oaks SCC LLC                                        18-34055          9535
115.   Western Hills SCC LLC                                    18-34056          1922
116.   Weston Inn SCC LLC                                       18-34057          7871
117.   Westover Hills SCC LLC                                   18-34059          3303
118.   Whitesboro SCC LLC                                       18-34060          7745
119.   Windcrest SCC LLC                                        18-34061          9541
120.   Windmill SCC LLC                                         18-34062          8067
121.   Wurzbach SCC LLC                                         18-34063          9920




                                             3
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18   Entered 12/05/18 11:49:05   Page 21 of 30



                                     Exhibit B

                                   Proposed Order




65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18                 Entered 12/05/18 11:49:05             Page 22 of 30




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                     §
In re:                                               §       Chapter 11
                                                     §
Senior Care Centers, LLC, et al.,1                   §       Case No. 18-33967 (BJH)
                                                     §
                          Debtors.                   §       (Joint Administration Requested)
                                                     §

         ORDER (I) AUTHORIZING CONTINUATION OF, AND PAYMENT OF
      PREPETITION OBLIGATIONS INCURRED IN THE ORDINARY COURSE OF
       BUSINESS IN CONNECTION WITH, VARIOUS INSURANCE POLICIES, (II)
    AUTHORIZING BANKS TO HONOR AND PROCESS CHECKS AND ELECTRONIC
     TRANSFER REQUESTS RELATED THERETO, (III) PREVENTING INSURANCE
    COMPANIES FROM GIVING ANY NOTICE OF TERMINATION OR OTHERWISE
    MODIFYING ANY INSURANCE POLICY WITHOUT OBTAINING RELIEF FORM
    THE AUTOMATIC STAY, (IV) AUTHORIZING THE DEBTORS TO CONTINUE TO
     HONOR PREMIUM FINANCING OBLIGATIONS, AND (V) AUTHORIZING THE
             DEBTORS TO CONTINUE THE SURETY BOND PROGRAM

         Upon the motion (the “Motion”)2 of the Debtors for entry of an (this “Order”) (i)

authorizing continuation of, and payment of prepetition obligations incurred in the ordinary

course of business in connection with, various Insurance Policies, (ii) authorizing Banks to honor

and process checks and electronic transfer requests related thereto, (iii) preventing Insurers from

giving any notice of termination or otherwise modifying or cancelling any Insurance Policies

1
   A list of the Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number, is attached to the Motion as Exhibit A.
2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18              Entered 12/05/18 11:49:05         Page 23 of 30



without first obtaining relief from the automatic stay, (iv) authorizing, but not directing, the

Debtors to continue to honor premium financing obligations, and (v) authorizing, but not

directing, the Debtors to continue their surety bond program; the Court having reviewed the

Motion and the First Day Declaration; and the Court having jurisdiction over this matter pursuant

to 28 U.S.C. 157 and §§ 1334(b); and the Court having found that this matter is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and that the Debtors consent to entry of a final

order under Article III of the United States Constitution; and the Court having found that venue

of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409; and the Court having determined that the relief requested in the Motion is in the best

interests of the Debtors, their estates, their creditors, and other parties in interest; and it appearing

that proper and adequate notice of the Motion has been given and that no other or further notice

is necessary; and upon the record herein; and after due deliberation thereon; and good and

sufficient cause appearing therefore, it is hereby

         ORDERED, ADJUDGED, AND DECREED THAT:

         1.     The Motion is GRANTED as set forth herein.

         2.     All objections to the entry of this Order, to the extent not withdrawn or settled, are

overruled.

         3.     The Debtors are authorized, but not directed, without interruption and in

accordance with the same practices and procedures as were in effect before the Petition Date, to

maintain and honor all of their prepetition Insurance Obligations under or in connection with the

Insurance Policies in an amount not to exceed $2.3 million.

         4.     The Debtors are authorized to renew or to obtain new insurance policies or to

execute other agreements in connection with the Insurance Policies.



                                                   2
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18            Entered 12/05/18 11:49:05        Page 24 of 30



         5.    Each of the Banks are authorized to honor checks presented for payment and all

fund transfer requests made by the Debtors, to the extent that sufficient funds are on deposit in

the applicable accounts, in accordance with this order and any other order of this Court.

         6.    The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests in connection with

any Insurance Obligations that are dishonored or rejected.

         7.    The Insurers are hereby prevented from giving any notice of termination or

otherwise modifying or cancelling any Insurance Policies without first obtaining relief from the

automatic stay imposed by Bankruptcy Code section 362.

         8.    The Debtors are authorized to continue honoring all obligations incurred pursuant

to the PFAs with Imperial.

         9.    The Debtors are authorized to continue honoring all obligations incurred pursuant

to the Surety Bond Program.

         10.   The Debtors are authorized to continue honoring all obligations in connection

with the Broker, including the payment of the Broker Fees.

         11.   Nothing in the Motion or this Order, or the Debtors’ payment of any claims

pursuant to this Order, shall be deemed or construed as: (a) an admission as to the validity of any

claim or lien against the Debtors or their estates, (b) a waiver of the Debtors’ right to dispute any

claim or lien, (c) an admission of the priority status of any claim, whether under Bankruptcy

Code section 503(b)(9) or otherwise, (d) to the extent that an Insurance Policy is deemed an

executory contract within the meaning of Bankruptcy Code section 365, an assumption or

adoption of the policy or agreement as an executory contract, or (e) a modification of the




                                                 3
65407093.4
Case 18-33967-bjh11 Doc 18 Filed 12/05/18           Entered 12/05/18 11:49:05     Page 25 of 30



Debtors’ rights to seek relief under any section of the Bankruptcy Code on account of any

amounts owed or paid on account of any Insurance Policies.

         12.   The Debtors are hereby authorized to take such actions and to execute such

documents as may be necessary to implement the relief granted by this order.

         13.   The requirements set forth in Bankruptcy Rule 6003(b) are satisfied.

         14.   The requirements set forth in Bankruptcy Rule 6004(a) are hereby waived.

         15.   Notwithstanding any Bankruptcy Rule (including, but not limited to, Bankruptcy

Rule 6004(h)) or Local Bankruptcy Rule that might otherwise delay the effectiveness of this

order, the terms and conditions of this order shall be immediately effective and enforceable upon

its entry.

         16.   This Court shall retain jurisdiction over any and all matters arising from the

interpretation, implementation, or enforcement of this Order.


                                     ### End of Order ###




                                                4
65407093.4
     Case 18-33967-bjh11 Doc 18 Filed 12/05/18   Entered 12/05/18 11:49:05   Page 26 of 30


                                         Exhibit C

                                      Insurance Policies




65407093.4
       Case 18-33967-bjh11 Doc 18 Filed 12/05/18                                                             Entered 12/05/18 11:49:05                     Page 27 of 30


            Type of Coverage                                 Insurance Carrier(s)                                      Address          Policy Number     Policy Term     Premium


                                                                                                                                        ZMD0193986-02      5/1/2018-
                                                                                                    PO Box 968057
 Property                               American Guarantee and Liability Insurance Company/Zurich                                                                       $1,620,014.74
                                                                                                    Schaumburg, IL 60196-8057                              5/1/2019


                                                                                                    Sue.Walsh@sedgwick.com                                 5/1/2018-
 General/Professional & Nose            Underwriter's at Lloyds London/Sapphie Blue                 501-954-2497                        SB-LTCA-01679-                  $1,661,100.00
 Coverage Liability (SCC & Trisun                                                                                                       18                 5/1/2019
 Locations)

                                                                                                                                                           5/1/2018-
 Excess GL, AL, EL                      Underwriter's at Lloyds London/Sapphie Blue                 PO Box 14478                        SB-LTCAX-                       $259,087.51
                                                                                                                                        01490-18           5/1/2019
                                                                                                    Lexington, KY 40572
 (SCC & Trisun Locations)



 General/Professional Liability                                                                                                         SB-LTCA-01680-
                                        Underwriter's at Lloyds London/Sapphie Blue                 PO Box 14478                        18                 5/1/2018-    $447,825.00
 (Hollywood, Vegas & Louisiana
                                                                                                    Lexington, KY 40572
 Locations)                                                                                                                                                5/1/2019




 Excess General/Professional Liability Underwriter's at Lloyds London/Sapphie Blue                  PO Box 14478                        SB-LTCAX-          5/1/2018-     $44,887.76
                                                                                                    Lexington, KY 40572                 01492-18
 (Hollywood & Vegas Locations)                                                                                                                             5/1/2019



                                                                                                    PO Box 14478
 Excess General Liability & Employers Underwriter's at Lloyds London/Sapphie Blue                   Lexington, KY 40572                   SB-LTCAX-        5/1/2018-     $56,109.69
 Liability (Louisiana Locations Only)                                                                                                     01491-18
                                                                                                                                                           5/1/2019


 Executive Risk (Directors & Officers, Federal Insurance Company                                    82 Hopmeadow Street                                    5/1/2018-    $150,158.00
 Employment Practices Liability, 3rd                                                                                                      8211-8486
                                                                                                     Simsbury, Connecticut 06070-7683                      5/1/2019
 Party, Fiduciary & Crime)



                                                                                                    One State Street Plaza
 Excess Directors & Officers            Ironshore Specialty Insurance Company                       8th Floor                             003565600        5/1/2018-     $37,012.51
                                                                                                    New York, NY 10004                                     5/1/2019

                                                                                                    1690 New Britain Ave.
 Excess Directors & Officers            Allied World Surplus Lines Insurance Company                 Suite 101                            355435           5/1/2018-     $18,112.51
                                                                                                     Farmington, CT 06032                                  5/1/2019

                                                                                                    claimsreport@phlyins.com            PHPK1811673
 Commercial Auto (Texas Vehicles)       Philadelphia Indemnity Insurance Company                    (800) 765-9749                                         5/1/2018-    $250,188.00
                                                                                                                                                           5/1/2019

                                                                                                    PO Box 968057
 Commercial Auto (Louisiana             American Guarantee and Liability Insurance Company/Zurich                                       BAP 0297391-01     5/1/2018-     $66,655.00
                                                                                                    Schaumburg, IL 60196-8057
 Vehicles)
                                                                                                                                                           5/1/2019

                                                                                                    945 East Paces Ferry Rd.
                                                                                                    Suite 1800
 Flood (Special Flood Hazard Area)      Landmark American Insurance Company                                                              LHD423523         5/1/2018-     $64,575.00
                                                                                                    Atlanta, GA 30326-1160
                                                                                                                                                           5/1/2019
                                                                                                    945 East Paces Ferry Rd.
                                                                                                    Suite 1800
 Flood (Moderate Flood Hazard Area) Landmark American Insurance Company                                                                  LHD423524         5/1/2018-     $26,906.25
                                                                                                    Atlanta, GA 30326-1160
                                                                                                                                                           5/1/2019

                                                                                                    305 Madison Avenue
 Storage Tank Pollution Liability       Crum & Forster Specialty Insurance                                                               STP-113777       8/20/2018-     $3,441.90
                                                                                                    Morristown, New Jersey 07960
 (Vintage SCC, LLC, 205 N Bonnie
 Brae, Denton, TX 76201)                                                                                                                                   8/20/2019




 National Flood Insurance               Hartford Insurance Company                                                                                        6/10/2018-      $3,323.00
                                                                                                    Claims@floodpro.net                 87060770802018
 Gamble Hospice Care Cenla LLC                                                                      (800) 759-8656                                         6/10/2019

 3805 Halsey St Ste C, Alexandria, LA




 National Flood Insurance               Hartford Insurance Company                                  Claims@floodpro.net                 87060770792018    6/10/2018-     $3,323.00
 Community SCC LLC                                                                                  (800) 759-8656                                         6/10/2019

 2601 Northwest Loop, Stephenville,
 TX




 National Flood Insurance               Hartford Insurance Company                                                                       87060770772018   6/10/2018-     $3,323.00
                                                                                                    Claims@floodpro.net
 Alief SCC LLC                                                                                      (800) 759-8656                                         6/10/2019

 8702 S Course Dr, Houston, TX




                                                                                                      1
65407093.4
        Case 18-33967-bjh11 Doc 18 Filed 12/05/18                                             Entered 12/05/18 11:49:05                Page 28 of 30


 National Flood Insurance              Hartford Insurance Company                    Claims@floodpro.net            87060770742018    6/10/2018-       $3,323.00
 La Hacienda SCC LLC                                                                 (800) 759-8656                                    6/10/2019

 3730 W Orem Dr, Houston, TX



 National Flood Insurance
                                       Hartford Insurance Company                                                   87060770732018    6/10/2018-       $3,323.00
 Clear Brook SCC LLC                                                                 Claims@floodpro.net
                                                                                     (800) 759-8656                                    6/10/2019
 10800 Flora Mae Meadows Rd

 Houston, TX 77089

 National Flood Insurance                                                                                           87060770822018
                                                                                     Claims@floodpro.net                              6/10/2018-        $660.00
 Gamble Hospice Northeast LLC dba: Hartford Insurance Company
 AIME                                                                                (800) 759-8656                                    6/10/2019

 510 Trenton St, West Monroe, LA

 National Flood Insurance                                                            Claims@floodpro.net             87060770992018
                                       Hartford Insurance Company                    (800) 759-8656                                   6/10/2018-        $725.00
 Springlake ALF SCC LLC
                                                                                                                                       6/10/2019
 8622 Line Ave, Shreveport, LA
 National Flood Insurance
 Springlake SCC LLC (SNF)             Hartford Insurance Company                                                    87060770912018    6/12/2018-
 8622 Line Ave., Shreveport, LA 71106                                                Claims@floodpro.net                              6/12/2019     $3,323.00
                                                                                     (800) 759-8656


 National Flood Insurance
 SCC Corporate Office                  Hartford Insurance Company                                                   87057604732018     5/1/2018-    $2,254.00
 8520 Business Park Dr., Shreveport,                                                 Claims@floodpro.net                               5/1/2019
 LA                                                                                  (800) 759-8656


 National Flood Insurance
 Senior Care of Meadow Creek           Hartford Insurance Company                    Claims@floodpro.net            87060340112018     1/8/2018-    $1,462.00
 4343 Oak Grove Blvd., San Angelo,                                                   (800) 759-8656                                    1/1/2019
 TX

 National Flood Insurance
 Mission SCC LLC                       Hartford Insurance Company                                                   87047271072017    12/1/2017-    $751.00
 1013 S Bryan Rd, Mission, TX                                                        Claims@floodpro.net                              12/1/2018
                                                                                     (800) 759-8656


 National Flood Insurance
 205 N Bonnie Brae, Denton, TX         Hartford Insurance Company                    Claims@floodpro.net            87047952952017    5/29/2017-    $728.00
                                                                                     (800) 759-8656                                   5/29/2018


 National Flood Insurance
 PM Management Lewisville NC LLC American Bankers Insurance Company                                                 87052445562017    5/26/2017-    $3,323.00
 700 E Vista Ridge Mall Dr,                                                          Claims@floodpro.net                              5/26/2018
 Lewisville, TX                                                                      (800) 759-8656


 National Flood Insurance
 7200 9th Ave., Port Arthur, TX 77642 Hartford Insurance Company                     Claims@floodpro.net            87060839702018    6/24/2018-    $1,174.00
                                                                                     (800) 759-8656                                   6/24/2019


 National Flood Insurance
 PM Management Goldent Triangle NC Hartford Insurance Company                                                       87060873102018     7/4/2018-    $1,241.00
 IV                                                                                  Claims@floodpro.net                               7/4/2019
 4225 Lake Arthur Dr, Port Arthur, TX                                                (800) 759-8656


 National Flood Insurance
 806 Brook Hollow Drive, Shreveport, Hartford Insurance Company                      Claims@floodpro.net            87060873162018     7/4/2018-    $1,066.00
 LA                                                                                  (800) 759-8656                                    7/4/2019


 National Flood Insurance
 788 Brook Hollow Dr, Shreveport, LA Hartford Insurance Company                                                     87060873192018     7/4/2018-    $773.00
                                                                                     Claims@floodpro.net                               7/4/2019
                                                                                     (800) 759-8656


 Named Storm Deductible Buy Down
                                       Underwriters at Lloyds/B&R                    To be supplemented               EW0055218        5/1/2018-    $328,814.85
                                                                                                                                       5/1/2019


 General/Professional Extended
 Reporting Period for                  Underwriter's at Lloyds London/Sapphie Blue   To be supplemented            SB-LTCA-01498-16   6/23/2016-    $6,520.51
 Winters Park Assisted Living (3450                                                                                                   9/23/2018
 Wagon Wheel Road, Garland, TX)

 General/Professional Extended
 Reporting Period for Trisun Care      Underwriter's at Lloyds London/Sapphie Blue   PO Box 14478                  SB-LTCA-01539-16   10/1/2016-    $26,460.00
 Center - Sinton (936 W 4th Street,                                                                                                   12/1/2018
 Sinton, TX)                                                                         Lexington, KY 40572


 Cyber Liability                       Underwriter's at Lloyds London                1270 Avenue of the Americas    W1A231170301      11/19/2017-   $34,695.15
                                                                                                                                      11/19/2018
                                                                                     12th Floor

                                                                                     New York, NY 10020




                                                                                       2
65407093.4
       Case 18-33967-bjh11 Doc 18 Filed 12/05/18                                        Entered 12/05/18 11:49:05                 Page 29 of 30


 Louisiana Patient Fund-            LA Patient's Compensation Fund              To be supplemented                                5/1/2018-     $334,138.57
 Senior Care Center Management, LLC                                                                                               5/1/2019



 Louisiana Patient Fund –              LA Patient’s Compensation Fund           To be supplemented          Enrollee              5/1/2018-     Included
 Bradford SCC, LLC dba: The                                                                                 R.S.40:1231:1         5/1/2019
 Bradford Rehabilitation Center


 Louisiana Patient Fund -              LA Patient's Compensation Fund           To be supplemented          Enrollee              5/1/2018-     Included
 Shreveport SCC, LLC dba: SCC of                                                                            R.S.40:1231:1         5/1/2019
 Shreveport Manor Rehabilitation
 Center
 Louisiana Patient Fund –
 Booker SCC, LLC dba: SCC Booker       LA Patient’s Compensation Fund           To be supplemented          Enrollee              5/1/2018-     Included
 T. Washington Rehabilitation Center                                                                        R.S.40:1231:1         5/1/2019


 Louisiana Patient Fund -
 Springlake ALF SCC, LLC dba: The LA Patient's Compensation Fund                To be supplemented          Enrollee              5/1/2018-     Included
 Gables at Spring Lake Assisted Living                                                                      R.S.40:1231:1         5/1/2019


 Louisiana Patient Fund -
 Springlake SCC, LLC dba: SCC of       LA Patient's Compensation Fund           To be supplemented          Enrollee              5/1/2018-     Included
 Springlake Rehabilitation Center                                                                           R.S.40:1231:1         5/1/2019


 Louisiana Patient Fund -
 Colonial SCC, LLC dba: SCC of         LA Patient's Compensation Fund           To be supplemented          Enrollee              5/1/2018-     Included
 Colonial Oaks Rehabilitation Center                                                                        R.S.40:1231:1         5/1/2019


 Louisiana Patient Fund -
 Bossier SCC, LLC dba: SCC of          LA Patient's Compensation Fund           To be supplemented          Enrollee              5/1/2018-     Included
 Pilgrim Manor Rehabilitation Center                                                                        R.S.40:1231:1         5/1/2019


 Louisiana Patient Fund -
 Ruston SCC, LLC dba: SCC of Alpine LA Patient's Compensation Fund              To be supplemented          Enrollee              5/1/2018-     Included
 Rehabilitation Center                                                                                      R.S.40:1231:1         5/1/2019


 Louisiana Patient Fund -
 Gamble Hospice Care Northwest, LLC LA Patient's Compensation Fund              To be supplemented          Enrollee              5/1/2018-     Included
 dba: AIME Hospice Care                                                                                     R.S.40:1231:1         5/1/2019


 Louisiana Patient Fund -
 Gamble Hospice Care of Cenla, LLC LA Patient's Compensation Fund               To be supplemented          Enrollee              5/1/2018-     Included
 dba: AIME Hospice Care                                                                                     R.S.40:1231:1         5/1/2019


 Louisiana Patient Fund -
 Gamble Hospice Care Central, LLC      LA Patient's Compensation Fund           To be supplemented          Enrollee              5/1/2018-     Included
 dba: AIME Hospice Care                                                                                     R.S.40:1231:1         5/1/2019


 Louisiana Patient Fund -
 Gamble Hospice Care Northeast, LLC LA Patient's Compensation Fund              To be supplemented          Enrollee              5/1/2018-     Included
 dba: AIME Hospice Care                                                                                     R.S.40:1231:1         5/1/2019


 Louisiana Patient Fund -
 Normandie SCC LLC dba: The Guest LA Patient's Compensation Fund                To be supplemented          License 2203782544    5/1/2018-     Included
 House Rehabilitation Center                                                                                                      5/1/2019


 Louisiana Patient Fund -
 Senior Rehab Solutions North          LA Patient's Compensation Fund           To be supplemented          Enrollee              5/1/2018-     Included
 Louisiana, LLC                                                                                             R.S.40:1231:1         5/1/2019


                                       To be supplemented
 Key Man Life Insurance - Kerr                                                  To be supplemented          AD20486127           10-year term   $4,698 (Annual)



                                       To be supplemented
 Key Man Life Insurance - Brandley                                              To be supplemented          AD20581612           10-year term   $1,392 (Annual)



 Workers Compensation (Senior Rehab
 Solutions, LLC) (AZ) (KS) (NM)     Wesco Insurance Company (AmTrust)           P O Box 6939                WWC3342174           3/21/2018-     $114,095.00
 (NY-being added 11/1/2017                                                                                                       3/21/2019
                                                                                Cleveland Ohio 44101-1939


 Workers Compensation (Senior Rehab Milwaukee Casualty Insurance Co (AmTrust)   P O Box 6939                MWC1021905            3/1/2018-     $20,154.00
 Solutions, LLC) (CO)                                                                                                             3/1/2019
                                                                                Cleveland Ohio 44101-1939


 Workers Compensation (Senior Rehab Technology Insurance Co (AmTrust)           P O Box 6939                TWC3704207            5/1/2018-     $13,180.00
 Solutions LLC) California                                                                                                        5/1/2019
                                                                                Cleveland Ohio 44101-1939


 Workers Compensation (Rehab           New York State Insurance Fund            P O Box 5239                K23999295            10/1/2017-     $83,304.00
 Services PT OT SLP LLC) (NY)                                                                                                    10/1/2018
                                                                                New York NY 10008-5239


 Disability Coverage (Rehab Services   New York State Insurance Fund            P O Box 5239                DBL6794896           10/1/2017-     $248.00
 PT OT SLP LLC) (NY)                                                                                                             10/1/2018
                                                                                New York NY 10008-5239


                                                                                  3
65407093.4
       Case 18-33967-bjh11 Doc 18 Filed 12/05/18                                             Entered 12/05/18 11:49:05         Page 30 of 30


 TX Non-Subscript (Senior Care         North American Specialty Insurance Company   P O Box 819045             EPG1000053-07   5/1/2018-    $347,414.00
 Centers LLC)                                                                                                                  5/1/2019
                                                                                    Dallas TX 753841-9045


 TPA (Senior Care Centers LLC)         Anchor Insurance                                                        None            5/1/2018 –   $202.00 per
                                                                                                                                5/1/2019    Record Only
                                                                                    P O Box 819045                                          $605.00 per
                                                                                                                                            Medical Only
                                                                                    Dallas TX 75382
                                                                                                                                            /Indemnity
                                                                                                                                            Blended Fee


 Workers Compensation (Senior Care     Great American                               P O Box 89400              WC217817000     9/1/2018-    $327,669.00
 Centers LLC) (LA)                                                                                                             9/1/2019
                                                                                    Cleveland OH 44101-6400


 Workers Compensation Loss Fund        Great American                               301 East Fourth Street     WC217817000     9/1/2018-    $525,000.00
 Security (Senior Care Centers) (LA)                                                                                           9/1/2019
                                                                                    Cincinnati OH 45202-4201


 Workers Compensation Claim Admin Great American                                    P O Box 89400              WC217817000     9/1/2018-    $37,291.00
 Fee (Senior Care Centers) (LA)                                                                                                9/1/2019
                                                                                    Cleveland OH 44101-6400


 Accident Coverage (Senior Care        AIG                                          P O Box 35540              SRG0009149607   7/8/2018-    $500
 Centers LLC) - Volunteers                                                                                                      7/8/2019
                                                                                    Newark NJ 07193-5540




                                                                                      4
65407093.4
